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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Troubleshooter Network, Inc., and
   Thomas G. Martino,

          Plaintiffs,

   v.                                                    Case No. 18-cv-02362-WJM

   HomeAdvisor, Inc., and
   ANGI Homeservices, Inc.

          Defendants.


                   SECOND AMENDED COMPLAINT AND JURY DEMAND


          Plaintiffs Troubleshooter Network, Inc. and Thomas G. Martino (“Plaintiffs”), by and

   through their attorneys, for its Second Amended Complaint against Defendants HomeAdvisor,

   Inc. and ANGI Homeservices, Inc. (“Defendants”) states as follows:

   I.     The Parties

          1.      Plaintiff Martino is an individual residing in the state of Colorado.

          2.      Mr. Martino, often referred to simply as “Tom Martino,” is a well-known online

   consumer advocate and talk radio host who is also known as “The Troubleshooter.” Mr. Martino

   hosts a syndicated radio show, “The Troubleshooter Show,” which airs from radio station

   KHOW in Denver, Colorado, is also syndicated to KRDO radio in Colorado Springs, and heard

   nationally (live and recorded) on You Tube, Facebook and the iHeart Radio app. Podcasts of the

   show are also available on iTunes. Mr. Martino provides business and consumer advice to

   listeners on his “Troubleshooter” radio show. In addition to a 44-year radio career, Mr. Martino

   has spent more than thirty-two of those years as a television consumer reporter in the Denver

   area. As a result, Mr. Martino is an extremely well-known celebrity media personality and has

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   amassed a tremendous amount of good will for his reputation in the area of consumer advice and

   advocacy.

          3.      Plaintiff Troubleshooter Network is a corporation organized in the state of

   Colorado and having a principal office address of 4695 S. Monaco Street, #111, Denver,

   Colorado 80237. Troubleshooter Network has been operating at least since 1993.

          4.      Plaintiff Troubleshooter Network runs the Referral List website at

   www.referrallist.com that promotes Mr. Martino and offers referral services for businesses that

   have passed strict background checks required by Troubleshooter Network and Mr. Martino, and

   maintain excellence in business ethics and customer service.

          5.      Plaintiff Troubleshooter Network also produces “The Troubleshooter Show” radio

   program which features Mr. Martino as a radio personality addressing issues concerning

   consumer protection and unfair or bad business practices.

          6.      Upon information and belief, Defendant HomeAdvisor is a corporation organized

   and existing under the laws of the state of Delaware, having a principal place of business at

   14023 Denver West Pkwy, Golden, Colorado 80401, and having a registered agent for service of

   process at The Corporation Company, 7700 E Arapahoe Road, Suite 220, Centennial, Colorado

   80112-1268.

          7.      Upon information and belief, based on its website at www.homeadvisor.com,

   Defendant HomeAdvisor provides referral services to connect connects consumers with service

   professionals nationwide for home repair, maintenance and improvement projects (“the

   HomeAdvisor digital marketplace service”).




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             8.    Upon information and belief, Defendant ANGI Homeservices is a corporation

   organized and existing under the laws of the state of Delaware, having a principal place of

   business at 14023 Denver West Pkwy, Golden, Colorado 80401.

             9.    Upon information and belief, based on its SEC filings, Defendant ANGI

   Homeservices owns and operates the HomeAdvisor digital marketplace service in the United

   States.

             10.   Upon information and belief, Defendant ANGI Homeservices markets the

   HomeAdvisor digital marketplace service to consumers through digital marketing such as paid

   search engine marketing, and to service professionals through its Golden, Colorado based sales

   force.

   II.       Jurisdiction and Venue

             11.   This case arises primarily under the trademark laws of the United States, namely,

   the Lanham Act, 15 U.S.C. § 1051 et seq. This Court has original federal jurisdiction over this

   action pursuant to 28 U.S.C. §§ 1331 and 1338 and 15 U.S.C. § 1121. Furthermore, this Court

   has supplemental jurisdiction over the state law claims under 28 U.S.C. § 1367(a).

             12.   This Court has personal jurisdiction over Defendants because each Defendant is a

   corporation with its principal place of business located within Colorado.

             13.   Venue is proper in this Judicial District under 28 U.S.C. § 1391 because each

   Defendant resides in this Judicial District.

   III.      General Allegations

             14.   Mr. Martino has been a television consumer reporter, advertising spokesperson

   and radio talk show host for 44 years, at least thirty-two of which he spent in Denver. Mr.




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   Martino is well-known and has achieved fame under the moniker “Tom Martino” for his ongoing

   work in the field of consumer advocacy.

          15.     As a result of his substantial name recognition as a consumer advocate, Mr.

   Martino’s name “Tom Martino” is of significant commercial value, and his referrals are highly

   valuable to businesses.

          16.     Plaintiff Tom Martino is paid by certain businesses, which have passed his

   background checks, to receive direct personal endorsements. The purchase of endorsements from

   Mr. Martino costs up to $250,000 per year, depending on several factors including the type of

   business and the size of the company.

          17.     Mr. Martino is the owner of Troubleshooter Network, a Colorado corporation.

          18.     Plaintiff Troubleshooter Network is the registrant for the referrallist.com domain,

   and Mr. Martino is the administrative contact for that domain.

          19.     Troubleshooter Network owns and operates the Referral List website at

   www.referrallist.com.

          20.     On the Referral List website at www.referrallist.com, businesses can apply to put

   their names on “Tom Martino’s Referral List.” The Tom Martino Referral List comprises a

   constantly changing list of businesses reviewed and approved by Mr. Martino that is published

   online for access by consumers.

          21.     Troubleshooter Network has been promoting and publishing a referral list of

   businesses specifically reviewed and approved by consumer advocate Tom Martino since at least

   1998. The name of consumer advocate Tom Martino is widely recognized within the trade and

   by the public and has built up extensive goodwill.




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            22.   The referral list that is published by the Troubleshooter Network is well known by

   businesses and consumers in Colorado and other states as “TOM MARTINO’S REFERRAL

   LIST.”

            23.   Troubleshooter Network has invested hundreds of thousands of dollars in

   advertising, marketing and promoting Tom Martino and the referral list services provided to

   businesses and consumers. That investment has included the running of the Referral List

   website, the Facebook page for Tom Martino’s Referral List, the constant maintaining and

   updating of Tom Martino’s Referral List, digital marketing of the Referral List website, and the

   running of a consumer advocacy radio program featuring Tom Martino in which he regularly

   references and talks about Tom Martino's Referral List.

            24.   Since at least 2000, Troubleshooter Network has repeatedly used, with the

   permission of Mr. Martino, the “TOM MARTINO” Service Mark and “TOM MARTINO’S

   REFERRAL LIST” Mark in commerce when referencing the business review, approval and

   referral services provided by Mr. Martino, as described in detail on www.referrallist.com (copy

   of a printed webpage from the Referral List website is attached as Exhibit A), on related social

   media pages such as Facebook (copy of printed home page attached as Exhibit B), and by Mr.

   Martino on Troubleshooter Network’s nationally syndicated consumer advocacy radio program.

            25.   Because of the value of Tom Martino’s name and advocacy, businesses pay

   monthly membership fees to the Troubleshooter Network to be reviewed by Mr. Martino, placed

   on Tom Martino’s Referral List, and to use the TOM MARTINO Service Mark and the TOM

   MARTINO’S REFERRAL LIST Mark on their websites. Those membership fees average

   $4800 per year, per business.




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           26.    Over the years, many thousands of Colorado businesses have contracted to be

   reviewed by consumer advocate Tom Martino in order to be placed on Tom Martino's Referral

   List.

           27.    During that same time period, upon information and belief, millions of consumers

   have relied on Tom Martino’s Referral List when searching for Colorado businesses.

           28.    The TOM MARTINO’S REFERRAL LIST Mark is inherently distinctive to the

   public and trade, as it has been in commercial use by Troubleshooter Network since at least 2000

   and refers directly to the business review, approval and referral services provided by Tom

   Martino through the Troubleshooter Network.

           29.    The TOM MARTINO Service Mark is inherently distinctive to the public and

   trade, as it has been in commercial use by Troubleshooter Network since at least 1998 and refers

   to the services provided by Tom Martino through the Troubleshooter Network.

           30.    As a result of the long-term use by Troubleshooter Network of the TOM

   MARTINO’S REFERRAL LIST Mark and TOM MARTINO Service Mark: (a) the public uses

   the TOM MARTINO’S REFERRAL LIST Mark and TOM MARTINO Service Mark to identify

   Troubleshooter Network with services of this type bearing these trademark designations; and

   (b) said marks have built up secondary meaning and extensive goodwill.

           31.    Troubleshooter Network operates the “The Troubleshooter Show” radio program

   featuring Mr. Martino as a consumer advocate and talk radio host in conjunction with its

   operation of the Referral List website.

           32.    The Troubleshooter Show radio program with “Tom Martino” has operated since

   at least as early as January 1997.




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              33.   Plaintiff Troubleshooter Network is the owner of U.S. Registration No. 3827397

   for the TOM MARTINO trademark (the “TOM MARTINO Radio Mark”) for “Radio

   entertainment services, namely, radio programs featuring performances by a radio personality.”

   Copy of TOM MARTINO trademark registration attached as Exhibit C.

              34.   Plaintiff Troubleshooter Network has nationally and continuously used the TOM

   MARTINO Radio Mark in connection with radio programming, including “The Troubleshooter

   Show” radio program featuring Mr. Martino as a consumer advocate, talk radio host and TV

   personality, since at least January 1997.

              35.   The TOM MARTINO Radio Mark is incontestable.

              36.   Mr. Martino performs on “The Troubleshooter Show” radio program regularly.

              37.   Mr. Martino regularly promotes the Referral List website and the Tom Martino

   Referral List on the “The Troubleshooter Show” radio program, which is syndicated to KRDO

   radio in Colorado Springs, and heard nationally (live and recorded) on You Tube, Facebook and

   the iHeart Radio app. Podcasts of the show are also available on iTunes.

              38.   Mr. Martino is famous in the Denver area where Defendants HomeAdvisor and

   ANGI Homeservices have their principal offices.

              39.   The TOM MARTINO’S REFERRAL LIST Mark, the TOM MARTINO Service

   Mark and the TOM MARTINO Radio Mark (the “Troubleshooter Marks”) are famous in the

   Denver area where Defendants HomeAdvisor and ANGI Homeservices have their principal

   offices.

   IV.        Defendants’ Tortious Acts

              40.   Upon information and belief, Defendants HomeAdvisor and ANGI Homeservices

   provide referral services to homeowners that are seeking home improvement services.



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             41.   Upon information and belief, Defendants HomeAdvisor and ANGI Homeservices

   advertise online that consumers using their services will receive information for up to four “local

   home improvement pros,” and that said businesses will contact the consumers “to discuss your

   project.” Copy of printed webpage from the HomeAdvisor website is attached as Exhibit D.

             42.   Defendants HomeAdvisor and ANGI Homeservices are direct competitors of the

   Troubleshooter Network.

             43.   In August 2018, Plaintiffs discovered that Defendants HomeAdvisor and ANGI

   Homeservices were using, without notice, license or permission, the TOM MARTINO’S

   REFERRAL LIST Mark, the TOM MARTINO Service Mark and the TOM MARTINO Radio

   Mark (the “Troubleshooter Marks”) in its own internet search advertising on the Bing search

   engine.

             44.   Upon information and belief, parties searching on Bing for the words “Tom

   Martino’s Referral List,” “Tom Martino refer list,” or various combinations thereof, were shown

   Internet search engine ads titled “Tom Martino Referral List” both at the top and bottom of the

   search result page. See, e.g., Exhibits E, F, G, H, I, J and K.

             45.   Upon information and belief, parties clicking on these advertisements were taken

   to the home page of the HomeAdvisor website at www.homeadvisor.com. A copy of the printed

   home page of the HomeAdvisor website is attached as Exhibit L. That page provides a large

   window in the center with the question “What service do you need?” in a text search box with a

   “Find Pros” search button—an invitation to seek a referral from HomeAdvisor. Id.

             46.   Upon information and belief, Defendants HomeAdvisor and ANGI Homeservices

   charge each business service professional on its list a yearly membership fee as well as an

   additional lead fee of between $16 to $107 per lead every time a customer is referred to the



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   member business service professional and the lead fee is charged regardless of whether or not the

   member business or service professional is hired to perform work in connection with the lead.

          47.     Upon information and belief, Defendants HomeAdvisor and ANGI Homeservices

   market services to consumers primarily through digital marketing such as paid search engine

   marketing.

          48.     Upon information and belief, Defendants HomeAdvisor and ANGI Homeservices

   used these search engine ads in an effort to willfully mislead and misdirect consumers searching

   the Internet for services provided by the Troubleshooter Network.

          49.     Upon information and belief, Defendants HomeAdvisor and ANGI Homeservices

   used these ads in a willful effort to unfairly take advantage of the value of the TOM

   MARTINO’S REFERRAL LIST Mark, the TOM MARTINO Service Mark and the TOM

   MARTINO Radio Mark (“The Marks”) by making consumers believe that they each reference

   HomeAdvisor, rather than the Troubleshooter Network, its direct competitor.

          50.     Alternatively, Defendants failed to exercise due care to avoid use of the TOM

   MARTINO’s name and identity for their own benefit or commercial purposes.

          51.     Defendants intentionally bid on and purchased key words containing TOM

   MARTINO and TOM MARTINO’S REFERRAL LIST, from online advertising sources such as

   Bing, and then instructed the sources, such as Bing, to include the TOM MARINO and TOM

   MARTINO’S REFERRAL LIST phrases in the text of the ad as displayed to consumers.

          52.     As of September 13, 2018, that misleading click advertising still appeared on at

   least the Bing search engine when consumers conduct searches for the Tom Martino referral list,

   or variations of the same. See, e.g., Exhibit M




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            53.    Upon information and belief, consumers frequently search for the Tom Martino

   referral list, or variations of the same.

            54.    On information and belief, Defendants HomeAdvisor and ANGI Homeservices

   directly control this Internet advertising.

            55.    Plaintiffs have been contacted by multiple consumers and vendors expressing

   direct confusion as a result of Defendants’ infringing use of the Troubleshooter Network’s

   Marks.

            56.    Upon information and belief, Defendants’ use of the Troubleshooter Marks in

   connection with the advertising, promotion and sales of their products is dilutive, deceptive and

   creates a likelihood of confusion.

            57.    Upon information and belief, Defendants HomeAdvisor and ANGI Homeservices

   misappropriated the Troubleshooter Marks and Mr. Martino’s name to trade unlawfully on the

   goodwill and reputation of Troubleshooter Network in their efforts to sell their products.

            58.    Upon information and belief, the actions of Defendants HomeAdvisor and ANGI

   Homeservices, whether in publishing the infringing advertising or whether by negligently failing

   to avoid using Tom Martino’s name and identity in advertising for HomeAdvisor, caused

   commercial harm to Troubleshooter Network and Mr. Martino.

            59.    Plaintiffs Troubleshooter Network and Mr. Martino require that any business

   requesting Mr. Martino’s personal endorsement undergo Mr. Martino’s required business review

   and approval as well as pay an endorsement fee. For example, a regional business can expect to

   pay an endorsement fee of up to $250,000 per year, depending on the size of the company.

            60.     Upon information and belief, Defendants’ unauthorized use of Mr. Martino’s

   name in its internet click advertising caused consumer searches for Mr. Martino’s Referral List



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   to misdirect to www.homeadvisor.com, falsely suggesting that Mr. Martino has personally

   endorsed HomeAdvisor as a direct provider of his business referral services.

          61.     Defendants HomeAdvisor and ANGI Homeservices have not entered into any

   endorsement agreement with Troubleshooter Network and with Mr. Martino.

          62.     Upon information and belief, Defendant HomeAdvisor is involved in at least one

   lawsuit alleging that HomeAdvisor engages in certain deceptive practices affecting the service

   professionals who join its network, including charging them for substandard customer leads or

   failing to disclose certain charges.

          63.     Upon information and belief, Defendants willful infringement has caused

   significant injury to Troubleshooter Network, has diluted the Troubleshooter Marks, diminished

   the value of the Troubleshooter Marks, and diminished the value of Tom Martino’s name.

          64.     Upon information and belief, Defendants negligent use of Tom Martino’s name

   and identity has caused significant injury to Plaintiffs by directing consumer’s away from

   Plaintiffs’ business, by diminishing the goodwill of Plaintiffs and Tom Martino’s name, and by

   depriving Plaintiffs from their rightful revenue associated with the use of Tom Martino’s name

   and identity by a direct competitor.

          65.     On information and belief, Defendants HomeAdvisor and ANGI Homeservices

   have been unjustly enriched by its false association with Mr. Martino.

   V.     Causes of Action

                                    FIRST CLAIM FOR RELIEF
                                 Invasion of Privacy by Appropriation
                                  And Violating the Right of Publicity
                                           For Tom Martino

          1.      Plaintiffs incorporate by reference each and every allegation made in the

   proceeding paragraphs.

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          2.         Tom Martino, through the Troubleshooter Network, contracts with approved third

   party businesses to provide his endorsement.

          3.         Tom Martino never contracted, either directly or through the Troubleshooter

   Network, to endorse Defendant HomeAdvisor.

          4.         Defendant HomeAdvisor is a direct competitor of the Troubleshooter Network.

          5.         Upon information and belief, Defendants HomeAdvisor and ANGI Homeservices

   used Plaintiff Tom Martino’s famous name in advertising for HomeAdvisor services in bad faith,

   without authorization and without payment for the same.

          6.         Upon information and belief, Defendants’ use of Plaintiff Tom Martino’s famous

   name in advertising for HomeAdvisor services was for Defendants’ own commercial purposes or

   financial gain.

          7.         Defendants’ use of Plaintiff Tom Martino’s famous name in advertising for

   HomeAdvisor services made it appear as though Tom Martino was endorsing Defendant

   HomeAdvisor, when in fact he was not.

          8.         Defendants’ use of Plaintiff Tom Martino’s famous name without license or

   permission from Tom Martino.

          9.         Defendants’ actions in misappropriating the name of Tom Martino has invaded

   the privacy of Mr. Martino and infringed his right of publicity.

          10.        Defendants HomeAdvisor and ANGI Homeservices at no time acted with the

   permission or endorsement of Tom Martino.

          11.        Defendants’ actions have caused direct injury to Plaintiff Tom Martino and

   directly harmed the goodwill represented by his name built up through his over 40 year career in

   media, including television and radio fighting for consumers and against bad business practices.



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           12.     Defendants’ actions were intentional, knowing, and willful.

           13.     As a result of Defendants’ activities, Plaintiff has been damaged by an amount to

   be proved at trial.

                                   SECOND CLAIM FOR RELIEF
                                        False Endorsement
                                     Under 15 U.S.C. §§ 1125(a)
                                        For Tom Martino

           14.     Plaintiffs incorporate by reference each and every allegation made in the

   proceeding paragraphs.

           15.     As a television and radio personality focused on consumer protection issues, Mr.

   Martino has for many years acted as a consumer advocate and provided referral services through

   Plaintiff Troubleshooters Network and on the Referral List website at www.referrallist.com.

           16.     Mr. Martino, through the Troubleshooter Network, contracts with approved third

   party businesses to provide his endorsement.

           17.     Mr. Martino never contracted, either directly or through the Troubleshooter

   Network, to endorse Defendant HomeAdvisor.

           18.     Defendant HomeAdvisor is a direct competitor of the Troubleshooter Network.

           19.     Upon information and belief, Defendants HomeAdvisor and ANGI Homeservices

   have repeatedly used Plaintiff Tom Martino’s famous name in their advertising, intentionally and

   without notice or authorization, in order to falsely suggest the endorsement of themselves and

   their services by Mr. Martino and his strong public persona in the area of consumer advocacy.

           20.     Upon information and belief, Defendants have engaged in acts of wrongful

   deception of the purchasing public as to Mr. Martino’s sponsorship, endorsement, or approval of

   Defendants and Defendants’ services in violation of the Lanham Act’s Section 43(a), 15 U.S.C.

   §1125(a).

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           21.     Upon information and belief, Defendants’ acts described herein were willful and

   deliberate.

           22.     Upon information and belief, Defendants HomeAdvisor and ANGI Homeservices

   had a bad faith intent to profit from the use, without license or permission, of Tom Martino’s

   name.

           23.     Defendants have committed acts of false endorsement in violation of 15 U.S.C.

   § 1125(a).

           24.     As a result of Defendants’ activities, Plaintiff has been damaged by an amount to

   be proved at trial.

                                  THIRD CLAIM FOR RELIEF
                         Federal Unfair Competition and False Advertising
                             Under 15 U.S.C. §§ 1125(a)(1)(A) and (B)
                                   For Troubleshooter Network

           25.     Plaintiffs incorporate by reference each and every allegation made in the

   proceeding paragraphs.

           26.     Plaintiff Troubleshooter Network has used its TOM MARTINO Service Mark in

   commerce since at least 1998. Plaintiff Troubleshooter Network has continuously used the TOM

   MARTINO Service Mark in commerce since that time in connection with its business review,

   approval and referral services.

           27.     Plaintiff Troubleshooter Network has used the TOM MARTINO’S REFERRAL

   LIST Mark in commerce since at least 2000. Plaintiff Troubleshooter Network has continuously

   used the TOM MARTINO’S REFERRAL LIST Mark in commerce since that time in connection

   with its business review, approval and referral services.




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          28.     Plaintiff Troubleshooter Network has continuously used the TOM MARTINO

   Service Mark in commerce since at least 1998 in connection with its business review, approval

   and referral services.

          29.     Plaintiff Troubleshooters Network owns U.S. Registration No. 3827397 for the

   TOM MARTINO Radio Mark. Plaintiff Troubleshooter Network has used its TOM MARTINO

   Radio Mark in commerce since at least 1997. Plaintiff Troubleshooter Network has continuously

   used the TOM MARTINO Radio Mark in commerce since that time in connection with “The

   Troubleshooter Show” radio program which features Mr. Martino addressing consumer and

   business issues.

          30.     On “The Troubleshooter Show” radio program, Mr. Martino discusses the referral

   services provided by himself and Plaintiff Troubleshooters Network on the Referral List website

   at www.referrallist.com.

          31.     Upon information and belief, Defendants HomeAdvisor and ANGI Homeservices

   used the Troubleshooter Marks and the name “Tom Martino” in unauthorized click advertising.

          32.     Upon information and belief, HomeAdvisor and ANGI Homeservices used

   internet click advertising displaying the Troubleshooter Marks and the name “Tom Martino” in

   order to divert consumers to www.homeadviser.com in an attempt to sell services to the same or

   a similar class of potential customers as those targeted by Troubleshooter Network and Mr.

   Martino.

          33.     Upon information and belief, Defendants HomeAdvisor and ANGI Homeservices

   have without authorization intentionally appropriated and used the Troubleshooter Marks and the

   name “Tom Martino” in internet click advertising in order to misdirect and mislead consumers,




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   to the benefit of Defendants HomeAdvisor and ANGI Homeservices and to the detriment of

   Plaintiffs Troubleshooter Network and Tom Martino.

          34.        Upon information and belief, Defendants engaged in acts of wrongful deception

   of the purchasing public, wrongful designation as to the source and sponsorship of services,

   wrongful deprivation of Troubleshooter Network and Mr. Martino’s good name and reputation,

   and the wrongful deprivation of Troubleshooter Network’s right to public recognition and credit

   as the true source of the services associated with the Troubleshooter Marks.

          35.        Defendants’ unauthorized and infringing portrayal of its commercial click

   advertising as the Troubleshooter Marks misrepresents the nature, characteristics, and origin of

   Troubleshooter Network’s goods and services, and constitutes intentional and knowing unfair

   competition, false designation of origin, passing-off and false or misleading descriptions or

   representations, all in violation of the Lanham Act’s Section 43(a), 15 U.S.C. §1125(a).

          36.        Upon information and belief, Defendants’ acts described herein have been willful

   and deliberate.

          37.        Upon information and belief, Defendants HomeAdvisor and ANGI Homeservices

   had a bad faith intent to profit from the use, without license or permission, of the Troubleshooter

   Marks and Tom Martino’s name.

          38.        The confusing use of the Troubleshooter Marks caused the users, potential users,

   purchasers and potential purchasers of Troubleshooter Network’s services to be confused as to

   the source of the products of the respective parties.

          39.        The use of the Troubleshooter Marks without notice, license or permission has

   injured Plaintiff Troubleshooters Network and Mr. Martino, and harm the significant goodwill

   represented by the Troubleshooter Marks and by the name Tom Martino.



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          40.     Defendants have thus committed acts of unfair competition and false advertising

   in interstate commerce in violation of, inter alia, 15 U.S.C. §§ 1125(a)(1)(A) and (B).

                                   FOURTH CLAIM FOR RELIEF
                                   Federal Trademark Infringement
                                       Under 15 U.S.C. § 1117
                                     For Troubleshooter Network

          41.     Plaintiffs incorporate by reference each and every allegation made in the

   proceeding paragraphs.

          42.     Plaintiff Troubleshooters Network owns U.S. Registration No. 3827397 for the

   TOM MARTINO Radio Mark. Plaintiff Troubleshooter Network has continuously used the

   TOM MARTINO Radio Mark in commerce since at least 1997 in connection with “The

   Troubleshooter Show” radio program which features Mr. Martino addressing consumer and

   business issues.

          43.     On “The Troubleshooter Show” radio program, Mr. Martino discusses the referral

   services provided by himself and Plaintiff Troubleshooters Network on the Referral List website

   at www.referrallist.com, and the public associates Mr. Martino with the referral services

   provided on the Referral List website.

          44.     Defendants HomeAdvisor and ANGI Homeservices used internet click

   advertising displaying the TOM MARTINO Radio Mark to divert consumers to

   www.homeadviser.com in an attempt to sell its own services to the same or a similar class of

   potential customers as those targeted by Troubleshooter Network and Mr. Martino. This

   confusing use of the TOM MARTINO Radio Mark has caused the users, potential users,

   purchasers and potential purchasers of Troubleshooter Network’s services to be confused as to

   the source of the products of the respective parties.




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           45.        Defendants HomeAdvisor and ANGI Homeservices employed Internet click

   advertising utilizing the TOM MARTINO Radio Mark without permission in order to confuse

   consumers and create a false association between Plaintiffs and Defendants.

           46.        The use of the Troubleshooter Marks without notice, license or permission has

   injured Plaintiff Troubleshooters Network and Mr. Martino.

           47.        Defendants have thus committed acts of trademark infringement in interstate

   commerce in violation of 15 U.S.C. § 1117.

           48.        Plaintiff Troubleshooters Network seeks injunctive relief against Defendants’

   infringement of the Troubleshooter Marks for which there is no adequate remedy at law.

           49.        Plaintiff Troubleshooters Network also is entitled to damages in an amount to be

   proven at trial.

                                     FIFTH CLAIM FOR RELIEF
                                  Common Law Trademark Infringement
                                        and Unfair Competition

           50.        Plaintiffs incorporate by reference each and every allegation made in the

   proceeding paragraphs.

           51.        Defendants’ actions as described herein are likely to cause significant confusion

   with Plaintiff Troubleshooter Network’s established and superior trademark rights and otherwise

   unfairly compete with Plaintiff. The consuming public is likely to be deceived by Defendants’

   use of the Troubleshooter Marks.

           52.        Defendants’ conduct constitutes trademark infringement and unfair competition

   under Colorado common law.




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           53.     Defendants’ acts of trademark infringement and unfair competition have caused

   damage and irreparable harm to Plaintiffs and to the valuable goodwill symbolized by and

   associated with its Troubleshooter Marks, unless enjoined and restrained by the Court.

           54.     Plaintiff has no adequate remedy at law. Defendants’ activities caused irreparable

   harm and injury to the Troubleshooter Marks, their goodwill, and reputation.

           55.     On information and belief, Defendants’ trademark infringement and unfair

   competition is and was knowing and willful.

           56.     As a result of Defendants’ activities, Plaintiffs have been damaged in an amount

   to be proved at trial.

                                      SIXTH CLAIM FOR RELIEF
                                   Deceptive Trade Practices Under the
                            Colorado Consumer Protection Act, C.R.S. § 6-1-105

           57.     Plaintiffs incorporate by reference each and every allegation made in the

   proceeding paragraphs.

           58.     Defendants’ deceptive use of the Troubleshooter Marks and of Mr. Martino’s

   name constitutes deceptive trade practices in violation of the Colorado Consumer Protection Act,

   C.R.S. § 6-1-105, because by such use Defendants are knowingly (1) passing off their services as

   those of another, (2) making false representations as to the source, sponsorship, approval, and/or

   certification of their services, and (3) making a false representation as to affiliation, connection,

   and/or association with or certification by the Plaintiff.

           59.     Defendants’ conduct has been knowing, willful, deliberate, and in bad faith, with

   malicious intent to deceive and to trade on the goodwill associated with the Troubleshooter

   Marks and Mr. Martino’s name.




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          60.     Defendants’ deceptive trade practices have a significant negative impact on the

   public as actual and potential consumers of the Plaintiffs’ services.

          61.     By its conduct, Defendants have harmed and deceived the public and inflicted

   damage and irreparable injury upon Plaintiff for which it has no adequate remedy at law, and

   must be restrained and enjoined by this Court from infringement of the Troubleshooter Marks

   and use of Tom Martino’s famous name.

          62.     On information and belief, Defendants have received significant revenues and

   profits as a result of its unfair and deceptive conduct, to which Defendants are not entitled, and

   Plaintiff also has suffered damages as a result of Defendants’ unlawful conduct, for which

   Defendants are responsible.

          63.     Plaintiffs are entitled to damages in amounts to be proven at trial.

          64.     Plaintiffs are entitled to treble damages for Defendants’ bad faith conduct

   pursuant to C.R.S. §6-1-113(2)(a)(III).

          65.     Plaintiffs are entitled to an award of their attorney’s fees and costs pursuant to

   C.R.S. §6-1-113(2)(b).

                                  SEVENTH CLAIM FOR RELIEF
                                       Unjust Enrichment

          66.     Plaintiffs incorporate by reference each and every allegation made in the

   proceeding paragraphs.

          67.     Plaintiffs Troubleshooter Network and Mr. Martino require significant payments

   for endorsements from Mr. Martino.

          68.     Defendants HomeAdvisor and ANGI Homeservices provided no notice, obtained

   no license, and paid no licensing fees to Plaintiffs.




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           69.    Defendants have used the Tom Martino name without permission from Mr.

   Martino, taking advantage of Mr. Martino’s well-known public persona and reputation as a

   consumer advocate without compensating Mr. Martino.

           70.    As a result of Defendants’ activities, Defendants have been unjustly enriched in

   an amount to be proved at trial.

           71.    On information and belief, Defendants’ false advertising using the Troubleshooter

   Marks and Mr. Martino’s name increased traffic to Defendants’ HomeAdvisor website.

                                  EIGHTH CLAIM FOR RELIEF
                                          Negligence

           72.    Plaintiffs incorporate by reference each and every allegation made in the

   proceeding paragraphs.

           73.    Tom Martino, through the Troubleshooter Network, contracts with approved

   third-party businesses for endorsements that contain his name and permit use of his name and

   identity.

           74.    Tom Martino never contracted, either directly or through the Troubleshooter

   Network, to permit use of his name or identity by Defendants for any purpose including for

   advertising.

           75.    Defendants used Tom Martino’s name and identity in online advertising for

   HomeAdvisor from at least June through September of 2018.

           76.    Defendants at no time acted with the permission or endorsement of Tom Martino

   or the Troubleshooter Network.

           77.    Defendants’ use of Tom Martino’s name in their online advertising was without

   license or permission from Tom Martino or the Troubleshooter Network.




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             78.      Defendants have an obligation to exercise due care in avoiding the use of Tom

   Martino’s name and identity without his permission and in using it for their own benefit or

   commercial purposes.

             79.      This responsibility is also reflected in Defendants written policies including the

   HomeAdvisor SEM Handbook.1

             80.      Under the instruction and direction of Defendants, at least Bing, included Tom

   Martino and his Referral List in advertising keywords for HomeAdvisor.

             81.      Defendants appear to routinely use brands and names of competitors in their

   keyword advertising.

             82.      Through Defendants’ neglect and disregard, under the direction and control of

   Defendants, Bing then published online advertising with text which contained Tom Martino’s

   name and referenced his Referral List.

             83.      Over six hundred searchers clicked on HomeAdvisor’s advertising which

   contained Tom Martino’s name and referenced his Referral List.

             84.      Use of Tom Martino’s name and identity in at least the Bing advertisement for

   HomeAdvisor services was the result of Defendants negligence.

             85.      In so using his name and identity, Defendants negligently invaded Tom Martino’s

   privacy through appropriation of Tom Martino’s name and identity.

             86.      Defendants’ negligent use of Tom Martino’s name in advertising for

   HomeAdvisor services was for Defendants’ own commercial purposes or financial gain.




   1
       E.g., at HA0021 (a portion of the SEM Handbook produced as HA0016-0034),

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            87.    Defendants’ negligent use of Tom Martino’s name in advertising for

   HomeAdvisor services made it appear as though Tom Martino was endorsing Defendant

   HomeAdvisor or was associated with it, when in fact he was not.

            88.    Defendants’ careless actions have caused direct injury to Tom Martino and to the

   Troubleshooter Network by harming the goodwill represented by Tom Martino’s name, built up

   through his over forty-year career in media, including in television and on radio, fighting for

   consumers and against bad business practices.

            89.    Defendants’ careless actions have caused direct injury to Plaintiff Tom Martino

   by harming his revenue stream from endorsements.

            90.    As a result of Defendants’ careless and negligent inclusion of Tom Martino’s

   name and identity in their advertising, Plaintiff has been damaged by an amount to be proved at

   trial.



   VI.      Prayer for Relief

            1.     WHEREFORE, Plaintiffs Troubleshooter Network and Mr. Martino respectfully

   request that the Court enter judgment against Defendants HomeAdvisor and ANGI

   Homeservices as follows:

            2.     That Defendants be required to cease all use of the Troubleshooter Marks and the

   name of Tom Martino, or any derivation thereof, including but not limited to in the form of

   internet advertising;

            3.     That Defendants cease further intentional infringement and dilution of the

   Troubleshooter Marks and the name of Tom Martino;




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          4.      That the Court enter a judgment finding that Defendants have committed invasion

   of privacy by appropriating for their own commercial use the “Tom Martino” name without the

   permission of Plaintiff Tom Martino and in violation of his right of publicity;

          5.      That the Court enter a judgment finding that Defendants have committed false

   endorsement in violation of the Lanham Act’s Section 43(a), 15 U.S.C. §1125(a);

          6.      That the Court enter a judgment finding that Defendants have intentionally and

   willfully infringed the Troubleshooter Marks;

          7.      That the Court enter a judgment finding that Defendants have engaged in unfair

   competition and false advertising by willfully using the Troubleshooter Marks;

          8.      That the Court enter a judgement finding that Defendants have engaged in

   dilution of the Troubleshooter Marks.

          9.      That the Court enter a judgement finding that Defendants have committed

   trademark infringement and unfair competition under Colorado common law.

          10.     That the Court order Defendants to pay Plaintiffs all damages arising from their

   appropriation and use of Tom Martino’s endorsement, without notice, license or permission;

          11.     That the Court order Defendants to pay Plaintiffs all damages arising from their

   infringement of the Troubleshooter Marks, committing false advertising, unfair competition and

   violating Mr. Martino’s right of privacy by appropriation;

          12.     That the Court order Defendants to pay all license, publication, and use fees

   appropriately reflecting their unauthorized appropriation and use of Mr. Martino’s name in their

   click advertising;

          13.     That the Court enter an award of actual damages suffered by Plaintiffs as a

   consequence of Defendants’ unlawful acts;



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           14.     That the Court enter an award of actual damages suffered by Plaintiffs as a

   consequence of Defendants’ negligent acts;

           15.     That the Court enter an award of treble damages, attorney’s fees and costs

   pursuant to C.R.S. 6-1-113(2)(a)(III) and C.R.S. §6-1-113(2)(b), and/or enter a finding that this

   case is an exceptional one justifying an award of attorney’s fees and costs under 15 U.S.C. §

   1117(a);

           16.     That the Court order Defendants to pay Plaintiffs’ costs and expenses incurred in

   and related to this action;

           17.     That the Court award such other and further relief as the Court deems just and

   proper under the circumstances.




      PLAINTIFFS HEREBY DEMAND A JURY TRIAL ON ALL ISSUES SO TRIABLE


           Plaintiffs demand a trial by jury, pursuant to Rule 38(b) of the Federal Rules of Civil

   Procedure, of all issues so triable.


   Date: April 9, 2020                                   Respectfully submitted,

                                                                s/ Thomas P. Howard
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